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 District of Hawaii
                                                                    FILED IN THE
                                                           UNITED STATES DISTRICT COURT
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                                                                 May 26, 2017
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 Attorneys for Plaintiff
 UNITED STATES OF AMERICA

                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAll

 IN THE MATIER OF THE                      )   MAG. NO. 16-1227 BMK
 TRACKING OF:                              )
                                           )   APPLICATION FOR EXTENSION OF
 SILVER LEXUS SEDAN, LICENSE               )   ORDER FOR A TRACKING WARRANT;
 PLATE SRN395, VIN #                       )   AFFIDAVIT IN SUPPORT OF AN
 JTHCK262X72011015                         )   APPLICATION FOR A SEARCH
                                           )   WARRANT
                                           )
                                           )   Filed Under Seal
 ~~~~~~~~~~~~~)

                        APPLICATION FOR EXTENSION OF
                       ORDER FOR A TRACKING WARRANT

              Marc A. Wallenstein, an Assistant United States Attorney, United States

 Department of Justice, hereby applies to the court, pursuant to Title 18 United States
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Code, Section3 l l 7, for extension of an order authorizing the installation and use of a

mobile tracking device.

             In support of this application, Applicant states the following:

              1. Applicant is an "attorney for the Government" as defined in Rule

54(c) of the Federal Rules of Criminal Procedure, and therefore, and pursuant to

Section 3117 of Title 18, United States Code, may apply for an order authorizing the

installation and use of a mobile tracking device. By prior Orders entered October 7,

2016, November 29, 2016, December 5, 2016, January 13, 2017, February 27, 2017,

and April 4, 2017 this Court authorized the installation and use of said devices on a

silver Lexus 4-door sedan bearing license plate number SRN395 and vehicle

identification number JTHCK262X72011015, including extensions up to and

including 45 days from April 15, 2017, that is, until May 29, 2017.

             2. As set forth in greater detail in the original Application, which is

incorporated here by reference, as well as the attached Affidavit, the Federal Bureau

of Investigation is conducting a criminal investigation of Ikaika Erik Kang ("KANG")

in connection with possible violations of 18 U.S.C. § 2339B (Providing, or

attempting, or conspiring to provide material support or resources to a designated

foreign terrorist organization); 18 U.S.C. § 1113 (Attempt to commit murder within

the special maritime and territorial jurisdiction of the United States); 18 U.S.C. § 1114

(Attempt to kill any officer or employee of the United States); and 18 U.S.C. § 115

(Threatening a federal official). The subject of the investigation is using a silver

                                            2
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Lexus 4-door sedan bearing license plate number SRN395 ("SUBJECT VEHICLE"),

and vehicle identification number JTHCK.262X72011015, in furtherance of and in

connection with the subject offenses. The information likely to be obtained from the

tracking warrant is relevant to the ongoing criminal investigation, for all the reasons

set forth in the original Application in this matter. The investigation is ongoing. The

FBI is continuing its efforts to detect and disrupt KANG's possibly unlawful and

violent activities.

              4. Accordingly, undersigned counsel respectfully requests that the court

issue an order authorizing the installation and continued use of a mobile tracking

device on the SUBJECT VEHICLE for an additional forty-five (45) day period after

May 29, 2017, that is, until July 13, 2017.

       Respectfully submitted this tJ _5      day of May, 2017, at Honolulu, Hawaii.

                                           ELLIOT ENOKI
                                           Acting United States Attorney
                                           District of Hawaii


                                           By~~~~~~~~~~~
                                              MARC A. WALLENSTEI N
                                              Assistant U.S. Attorney




                                              3
